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      Telephone:    (213) 623-9300
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  6   Proposed Attorneys for
      Official Committee of Equity Security Holders
  7

  8
                                     UNITED STATES BANKRUPTCY COURT
  9
                                      CENTRAL DISTRICT OF CALIFORNIA
 10
                                       SAN FERNANDO VALLEY DIVISION
 11

 12   In re:                                             Case No. 1:17-bk-12408-MB
                                                         [Joint administered with:
 13   Ironclad Performance Wear Corporation, a           Case No. 1:17-bk-12409-MB]
      California corporation,
 14                                                      Chapter 11
                      Debtor and Debtor in Possession.
 15                                                      APPLICATION OF THE OFFICIAL
      In re:                                             COMMITTEE OF EQUITY SECURITY
 16                                                      HOLDERS TO EMPLOY MICHAEL D.
      Ironclad Performance Wear Corporation, a
                                                         SCHWARZMANN AS FINANCIAL
 17   Nevada Corporation,                                ADVISOR NUNC PRO TUNC AS OF
                                                         OCTOBER 20, 2017; DECLARATION OF
 18                   Debtor and Debtor in Possession.   MICHAEL D. SCHWARZMANN IN
                                                         SUPPORT THEREOF
19
          Affects:                                       [No hearing Required Unless Requested
20
                                                         Pursuant to Local Bankruptcy Rule 2014-1]
21    r- Both Debtors
22       Ironclad Performance Wear
      Corporation, a California corporation
23
      Fl Ironclad Performance Wear
24    Corporation, a Nevada corporation.
25

26                The Official Committee of Equity Security Holders (the "Equity Committee") in the

27    above-referenced chapter 11 case of Ironclad Performance Wear Corporation, a Nevada

28    corporation ("Ironclad Nevada"), jointly administered with Ironclad Performance Wear



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                    1
                        Corporation, a California corporation ("Ironclad California," and together with Ironclad Nevada,
                    2
                        the "Debtors"), hereby submits this application (the "Application") for the entry of an order
                    3
                        authorizing the retention and the employment of Michael D. Schwarzmann ("Mr.
                    4
                        Schwarzmann"), nunc pro tunc as of October 20, 2017, as financial advisor to the Equity
                    5
                        Committee, pursuant to 11 U.S.C. § 1103(a), with compensation under 11 U.S.C. §§ 330 and 331,
                    6
                        Rule 2014(a) of the Federal Rules of Bankruptcy Procedures (the "Bankruptcy Rules"), and Local
                    7
                        Bankruptcy Rule 2014-1(b). In support of this Application, and the concurrently filed Declaration
                    8
                        of Michael D. Schwarzmann (the "Schwarzmann Declaration"), the Equity Committee further
                    9
                        state as follows:
       '1*
      00           10
      kr)                                                 JURISDICTION AND VENUE
            kr)
                   11
                                1.     This Court has jurisdiction over the Application pursuant to 28 U.S.C. § 1334.
       .ch
- LU               12
cf,                            2.      Venue for these chapter 11 cases ("Cases") and this Application is proper in this
                   13
0                       Court pursuant to 28 U.S.C. §§ 1408 and 1409. This Application constitutes a core proceeding
z                  14
(2)                     pursuant to 28 U.S.C. § 157(b).
            z      15
      0<    cr)
                                                               BACKGROUND
      oa           16
                               3.      On September 8, 2017 (the "Petition Date"), the Debtors each filed voluntary
                   17
                        petitions for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy
                   18
                        Court for the Central District of California, San Fernando Valley Division. [Case No. 1:17-bk-
                   19
                        12408-MB; Case No. 1:17-bk-12409-MB; Doc. Nos. 1.]
                   20
                               4.      On September 11, 2017, the Debtors filed their Ex Parte Motion For Entry Of An
                   21
                        Order For Joint Administration Of Cases. [Docket No. 5.]
                   22
                               5.      On September 12, 2017, the Court entered an Order Approving Joint
                   23
                        Administration of Cases Authorizing Joint Administration Pursuant to 11 U.S.C. § 105(a) and
                   24
                        Federal Rule of Bankruptcy Procedure 1015(b). [Docket No. 25.]
                   25
                               6.      On September 20, 2017, the Office of the United States Trustee filed its Notice of
                  26
                        Appointment of Official Committee of Equity Holders (the "Notice of Appointment"). [Docket
                  27

                  28


                                                                        2
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  1
      No. 59.] The Notice of Appointment provides for the appointment of the Equity Committee in
  2
      Ironclad Nevada.
  3
             7.      On November 3, 2017, the Court entered an order approving the sale of
  4
      substantially all of the assets of the Debtors. [Docket No. 177.] The Debtors assets were sold for
  5
      $25,250,000 and the Debtors' total debt in these cases, including postpetition administrative
  6
      claims is estimated at $10.5-$12 million. [Docket No. 111.]
  7
                                           RELIEF REQUESTED
  8
             8.      The Equity Committee seeks to employ and retain Mr. Schwarzmann as its
  9
      financial advisor in connection with its pecuniary interest in the jointly-administered cases of
 10
      Ironclad Nevada and Ironclad California, pursuant to § 1103(a), with compensation under § 330
 11
      and § 331, on the terms and conditions set forth herein and in the Schwarzmann Declaration. For
 12
      the avoidance of doubt, the Equity Committee seeks to employ Mr. Schwarzmann in the Ironclad
 13
      Nevada case. Given that the sale proceeds will pay creditors and administrative claims in full, the
 14
      Equity Committee stands to gain or lose the most in these Cases and requires specific services
 15
      from time to time which are of special interest and concern to the Equity Committee.
 16
             9.      As set forth herein and in the Schwarzmann Declaration, Mr. Schwarzmann will
 17
      be compensated in accordance with the hourly rates agreed upon between Mr. Schwarzmann and
 18
      the Equity Committee, in accordance with Mr. Schwarzmann's normal reimbursement policies,
 19
      subject to review and approval of this Bankruptcy Court.
 20
                                     SERVICES TO BE RENDERED
 21
             10.     The Equity Committee seeks to employ Schwarzmann to perform specific
 22
      services, which are of special interest and concern to the Equity Committee. As set forth in the
 23
      Schwarzmann Declaration, Mr. Schwarzmann is prepared to render the following services in
24
      these Cases as financial advisor to the Committee (collectively, the "Services"):
25
                     (a)    Assist in maximizing the proceeds from the sale of assets, including, but
26                          not limited to, working with Debtors' financial advisor (Craig-Hallum
                            Capital Group, LLC) to develop and implement strategic plans for
27                          maximizing value and providing recommendations related to evaluation of
                            bids;
28


                                                       3
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  1                  (b)     Investigation and analysis related to the amount of Radians Wareham
                             Holdings, Inc.'s claim;
  2
                      (c)    Assist with review and reconciliation of asserted claims, as needed;
  3
                      (d)    Assist in evaluating any issues related to a proposed plan of reorganization
  4                          or liquidation, including preparing materials in support thereof, as
                             requested;
  5
                      (e)    Assist in evaluating issues related to potential litigation, as needed; and
  6
                      (f)    Other activities as are requested by the Equity Committee, and agreed to by
  7                          Mr. Schwarzmann.

  8          11.     The Committee believes that the Services are necessary to enable the Committee

  9   to fulfill their statutory duties and to otherwise maximize recoveries for all creditors. The Services

 10   will not duplicate the services that other professionals will be providing to the Committee in these

 11   chapter 11 Cases, as approved by the Bankruptcy Court. Mr. Schwarzmann is well-qualified and

 12   able to represent the Committee in a cost-effective, efficient and timely manner and will use

 13   reasonable efforts to coordinate with the other professionals to avoid unnecessary duplication.

 14                                          QUALIFICATIONS

 15          12.     Mr. Schwarzmann specializes in bankruptcy and insolvency services. A copy of

 16   his resume is attached as Exhibit "A" to the Schwarzmann Declaration. He has worked with

 17   distressed companies and their constituents for the past 20 years. His experience has focused on

 18   helping distressed companies execute positive change by identifying opportunities for

 19   improvement, negotiating with constituents and building consensus. Further, this expertise

20    includes consulting with companies, bondholder groups, unsecured creditors, and lender groups.

21           13.     Since being engaged by the Equity Committee (subject to Court approval), Mr.

22    Schwarzmann has become well acquainted with the Debtors' financial history, assets and

23    liabilities, and worked closely with the Equity Committee with respect to the sale of assets and

24    related issues. Immediately upon being notified by the Equity Committee that he had been

25    selected from among competing proposed advisors, which selection followed an interview with

26    members of the Equity Committee, Mr. Schwarzmann began working in concert with Steve

27    Rickman of Craig-Hallum Capital Group LLC to maximize the value received at the auction for

28    the Debtors' assets. This cooperative process continued throughout the lead up to the auction and


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  1
      throughout the auction itself. Accordingly, Mr. Schwarzmann has developed significant relevant
  2
      experience regarding the Debtors' estates that will enable him to provide effective and efficient
  3
      services.
  4
                                     PROPOSED COMPENSATION
  5
               14.   The Committee submits that the retention of Mr. Schwarzmann under the terms
  6
      described herein is appropriate under § 1103(a) and § 328 of the Bankruptcy Code, which are
  7
      substantially similar to those entered into between Mr. Schwarzmann and other clients in a
  8
      competitive market for financial advisory services. Mr. Schwarzmann understands that the
  9
      standards related to § 328 will not apply to any compensation sought under the Application, and
 10
      that compensation will be reviewed under the reasonableness standard pursuant to § 330. Subject
 11
      to the Court's approval, Mr. Schwarzmann will charge for his services on an hourly basis in
 12
      accordance with his standard billing procedures.
 13
               15.   Mr. Schwarzmann will be paid by the estate of Ironclad Nevada for his services at
 14
      his customary hourly billing rate of $425.00. Mr. Schwarzmann's rates and ranges shall be
 15
      subject to adjustment annually at such time as Mr. Schwarzmann adjusts his rates generally.
 16
               16.   Mr. Schwarzmann will also seek reimbursement, subject to the Court's approval,
 17
      for actual out-of-pocket expenses incurred by Mr. Schwarzmann in connection with this
 18
      assignment, such as document reproduction and telecopies charges, mail and express mail
 19
      charges, overnight courier expenses, and other disbursements. All fees and expenses due to Mr.
 20
      Schwarzmann will be billed in accordance with any interim compensation orders entered by this
 21
      Court, and the relevant sections of the Bankruptcy Code, Bankruptcy Rules and local rules of this
 22
      Court.
 23
               17.   Mr. Schwarzmann intends to apply to the Court for compensation and
 24
      reimbursement of expenses in accordance with applicable provisions of the Bankruptcy Code, the
25
      Bankruptcy Rules, further Orders of this Court, and the Guidelines established by the Office of
26
      the United States Trustee for all services performed and expenses incurred on or after the
27
      Retention Date (including limitations on reimbursement of travel related fees and expenses).
28


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  1
                                              DISCLOSURES
  2
             18.       As set forth above, Mr. Schwarzmann understands the provisions of §§ 330, 331
  3
      and 1103, Bankruptcy Rules 2014(a) and 2016, and Local Rules 2014-1(b) and 2016-1, which
  4
      require, among other things, Court approval of the Equity Committee's employment of him as
  5
      Financial Advisor and of all fees and reimbursement of expenses that he will receive from the
  6
      Debtors' estates.
  7
             19.       Section 1103 of the Bankruptcy Code does not incorporate the general
  8
      disinterestedness standard of section 327(a). However, Bankruptcy Rule 2014 requires that an
  9
      application for employment under section 1103 disclose all connections with the Debtors, their
 10
      estates, the professionals, and the Office of the United States Trustee. Mr. Schwarzmann has
 11
      conducted an extensive conflict search within his database and has not identified any actual
 12
      conflicts and/or connections with any of the parties which would disqualify him from serving as
 13
      financial advisor to the Equity Committee.
 14
             20.       Mr. Schwarzmann has not received and will not receive any lien or any other
 15
      interest in property of the Debtors or of a third party to secure payment of its fees, but reserves
 16
      the right to seek to surcharge collateral if appropriate. Mr. Schwarzmann understands that its
 17
      compensation in this case will be subject to the approval of the Bankruptcy Court upon
 18
      appropriate application and hearing. Mr. Schwarzmann intends to apply to this Court in
 19
      conformity with the Bankruptcy Code and applicable rules, the guidelines for compensation and
 20
      reimbursement for fees incurred and costs advanced in this matter and any orders of the Court
 21
      governing application and allowance of compensation in this Case.
 22
             21.       At the conclusion of this case, Mr. Schwarzmann will file an appropriate
 23
      application seeking allowance of all fees and costs, regardless of whether interim compensation
 24
      has been paid.
 25
             22.       Except as set forth in Mr. Schwarzmann's declaration, he (a) does not have any
26
      prior connection with the Debtors, any creditors of the Debtors or their estates, any equity
27
      security holders, or any other party in interest in these Cases, or their respective attorneys or
28


                                                      6
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     accounts (other than professional connections and relationships), or these Cases, (b) does not hold

     or represent an interest materially adverse to the estates or of any class of creditors or equity

     secured holders, by reason of any direct or indirect relationship to, connection with, or interest in,

     the Debtors or an investment banker for any security of the Debtors, or for any other reason, and

     (c) is a disinterested person as that term is defined in 11 U.S.C. § 101(14). As of the Petition

     Date, Mr. Schwarzmann was not a creditor, equity holder or insider of the estate.

            23.     Mr. Schwarzmann is not and was not an investment banker for any outstanding

     security of the Debtors. Mr. Schwarzmann has not been within three (3) years before the petition

     date an investment banker for a security of the Debtors, or an attorney for such an investment

     banker in connection with the offer, sale or issuance of any security of the Debtors.

            24.     Mr. Schwarzmann was not, within two (2) years before the petition date, a

     director, officer or employee of the Debtors or of any investment banker for any security of the

     Debtors.

            25.     Mr. Schwarzmann has not shared or agreed to share such compensation with any

     other person. Mr. Schwarzmann has no prepetition claims against the Debtors. Mr. Schwarzmann

     has not received a retainer.

            26.     Mr. Schwarzmann is not related to any judge of the United States Bankruptcy

     Court for the Central District of California, the United States Trustee, or to any person employed

     by the Office of the United States Trustee.

            27.     In addition, as set forth in the Schwarzmann Declaration, if any new material facts

     or relationships are discovered or arise, Mr. Schwarzmann will provide the Court with a

     supplemental declaration. The Equity Committee believes that its employment of Mr.

     Schwarzmann upon the terms and conditions set forth above is in the best interest of the Debtors'

     estates and equity holders.

            28.     The Committee requests -- and Mr. Schwarzmann understands -- that all advisory

     fees and related costs incurred by the Committee on account of services rendered by Mr.




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                  1
                      Schwarzmann in these Cases will be paid as administrative expense in Ironclad Nevada in
                  2
                      accordance with the Bankruptcy Code and applicable Orders entered in this case.
                  3
                                                         RETROACTIVE RELIEF
                  4
                             29.     The Committee requests that this Application be approved retroactive to October
                  5
                      20, 2017, which is the date the Committee selected Mr. Schwarzmann as their financial advisor.
                  6
                      In proper circumstances, the equitable aspects of bankruptcy proceedings permit the court to
                  7
                      retroactively approve the employment of professionals. See, e.g., Atkins v. Wain, Samuel & Co.
                  8
                      (In re Atkins), 69 F.3d 970, 974-76 (1995); In re Mehdipour 202 BR 474, 479 (9th Cir. BAP
                  9
                      1996); Gowan v. Lefkas Gen. Partners No. 1017 (in re Lefkas Gen. Partners No. 1017), 153 B.R.
     cp
     oa          10
     (NI
                      804, 808 (N.D. Ill. 1993) (internal quotation omitted).
                 11
     c/D                     30.     The Committee submits that retroactive approval of Mr. Schwarzmann's retention
     F.    c,    12
                      is appropriate under the circumstances because of: (1) the short duration of time between the
     v)0,,       13
C)
                      retention of Mr. Schwarzmann and the filing of this Application; and (2) the need for Mr.
O S UM           14
f:) w                 Schwarzmann's services immediately after the Retention Date.
                 15
     0
     C/)                                                       CONCLUSION
                 16
                             31.     The Committee respectfully submits that retention and employment of Mr.
                 17
                      Schwarzmann as financial advisor in these Cases is necessary and appropriate under the
                 18
                      circumstances, as set forth in this Application. Moreover, Mr. Schwarzmann has the experience
                 19
                      necessary to advise the Committee and to provide the Services in an efficient and effective
                 20
                      manner.
                 21
                             WHEREFORE, the Equity Committee, through their proposed counsel, respectfully
                 22
                      request that the Court (a) authorize the Equity Committee to retain and employ Michael D.
                 23
                      Schwarzmann as financial advisor in Ironclad Nevada, in accordance with the terms hereof, nunc
                 24
                      pro tunc as of October 20, 2017, pursuant to § 1103(a), with compensation pursuant to § 330 and
                 25
                      § 331; and (b) grant such other and further relief as the Court deems just and proper.
                26

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  1
      Dated: November 8, 2017                    DENTONS US LLP
  2                                              JOHN A. MOE, II
                                                 TANIA M. MOYRON
  3

  4
                                                 By:    /s/ Tania M Moyron
  5                                                     TANIA M. MOYRON

  6                                                PROPOSED ATTORNEYS FOR
                                                   OFFICIAL COMMITTEE OF EQUITY SECURITY
  7                                                HOLDERS

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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the foregoing document entitled (specify): APPLICATION OF THE OFFICIAL COMMITTEE
OF EQUITY SECURITY HOLDERS TO EMPLOY MICHAEL D. SCHWARZMANN AS FINANCIAL ADVISOR NUNC
PRO TUNC AS OF OCTOBER 20, 2017; DECLARATION OF MICHAEL D. SCHWARZMANN IN SUPPORT THEREOF
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 8, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

      •   Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
      •   Ron Bender rb@Inbyb.com
      •   Cathrine M Castaldi ccastaldi@brownrudnick.com
      •   Russell Clementson russell.clementson@usdoj.gov
      •   Aaron S Craig acraig@kslaw.com, Iperry@kslaw.com
      •   Matthew A Gold courts@argopartners.net
      •   Monica Y Kim myk@Inbrb.com, myk@ecf.inforuptcy.com
      •   Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
            dentons.com
      •   Krikor J Meshefejian kjm@Inbrb.com
      •   Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
      •   S Margaux Ross margaux.ross@usdoj.gov
      •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
      •   Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

                                                                                           ❑ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 8, 2017, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                           El   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 8, 2017, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                           El   Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  November 8, 2017 Christina O'Meara                                                                /s/Christina O'Meara
 Date                               Printed Name                                                    Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
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SERVED BY U.S. MAIL:

Secured Creditor                                         Counsel to Radians Wareham                           U.S. Securities and Exchange
Radians Wareham Holding, Inc.                            Holdings                                             Commission
Attn: Mike Tutor, CEO                                    E. Franklin Childress, Jr.                           Attn: Bankruptcy Counsel
5305 Distriplex Farms                                    Baker, Donelson, Bearman, Caldwell                   444 South Flower Street, Suite 900
Memphis, TN 38141                                        & Berkowitz, PC                                      Los Angeles, CA 90071-9591
                                                         165 Madison Ave, Suite 2000
                                                         Memphis, Tennessee 38103

Governmental Agencies
Internal Revenue Service                                 Franchise Tax Board                                  State Board of Equalization
P.O. Box 7346                                            Bankruptcy Section, MS: A-340                        Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                              P.O. Box 2952                                        P.O. Box 942879
                                                         Sacramento, CA 95812-2952                            Sacramento, CA 94279-0029

Employment Development Dept.
Bankruptcy Group MIC 92E
P.O. Box 826880
Sacramento, CA 94280-0001

Equity Holders - SERVED BY EMAIL
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Email: obrien.pat@me.com                                 Email: rlchez@rcn.com                                Email: scott.jarus@verizon.net




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June 2012                                                                                                F 9013-3.1.PROOF.SERVICE
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